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 1                                                      THE HONORABLE RICHARD A. JONES
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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9   UNITED STATES OF AMERICA,
10                                     Plaintiff,         Case No. 2:18-cr-00277-RAJ
11            v.                                          DEFENDANT JEFFREY ZIRKLE’S
                                                          SENTENCING MEMORANDUM
12   CRAIG LORCH and JEFFREY ZIRKLE,
13                                  Defendants.
14

15                                      I.      INTRODUCTION
16            On April 23, 2019, Jeff Zirkle, together with co-defendant Craig Lorch, will appear for
17   sentencing following their guilty pleas to a single count of conspiracy to commit wire fraud. Mr.
18   Zirkle and Mr. Lorch are the two principal co-owners of Total Reclaim, a Kent, Washington-
19   based company operating in Washington, Oregon, and Alaska, that recycles a wide variety of
20   used commercial and consumer waste streams, including electronic or “e-waste” comprised of
21   computers and other electronic devices.
22            Mr. Zirkle has no criminal history score. He has dedicated almost all of his professional
23   life to building and operating a legitimate, respected, and innovative small business that, over
24   many years, has greatly benefitted Seattle and the Pacific Northwest and provided dozens of
25   workers with family-wage jobs and opportunities for career advancement. He is moreover an
26   unfailingly devoted and caring father, son, sibling, friend, neighbor, and employer.
27
     ZIRKLE’S SENTENCING MEMORANDUM - 1                                           LANE POWELL PC
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 1            To be sure, the offense conduct—for which Mr. Zirkle has accepted full responsibility

 2   through both word and deed—is serious and deserving of punishment. Indeed, unlike many

 3   similarly situated defendants, Mr. Zirkle appreciates that an appropriate punishment for his

 4   financial fraud should include a period of incarceration. At the same time, his offense represents

 5   a demonstrable and uncharacteristic aberration, both personally and professionally. It arose out

 6   of the handling of a single type of electronic component that comprised a mere 2% of Total

 7   Reclaim’s revenue and 2.8% of the total volume of material handled by Total Reclaim during the

 8   years in question. The offense should thus, in fairness, be considered in context—alongside an

 9   otherwise law-abiding, ethical, productive, and constructive life.

10                           II.   BACKGROUND & PROCEDURAL HISTORY

11   A.       Offense Conduct and Procedural Background

12            The conduct for which Mr. Zirkle has pleaded guilty took place from about January 2009

13   to January 2016. It is described extensively in the Plea Agreement (Dkt. 15 at 4–9) and in the

14   Presentence Report (“PSR”). Mr. Zirkle will not repeat those facts in detail.

15            At its core, this case is not complex. It involves a willful breach of contract and knowing

16   misrepresentations to some of Total Reclaim’s customers. Those customers, some of which were

17   public entities or received government funding, entered into service agreements with Total

18   Reclaim, under which Total Reclaim committed not to export to developing countries certain e-

19   waste that the customers paid Total Reclaim to recycle.

20            Despite these commitments, and driven by business convenience linked to the need to

21   develop additional processing capacity, Mr. Zirkle and Mr. Lorch agreed to sell mercury-

22   containing Liquid Crystal Display monitors (“flat screens”) to an exporter with whom they had

23   a pre-existing relationship and who they knew intended to and did export them to Hong Kong, a

24   contractually prohibited destination. As both the Plea Agreement and the PSR acknowledge,

25   “United States law does not prohibit the export of [flat screens].” Dkt. 15 at 5; PSR ¶ 10.

26            This conduct began on a small scale, and grew over time due to the sharp and unexpected

27   increase in the number of flat screens Total Reclaim received from customers. The third-party
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 1   exporter shipped roughly 8.3 million pounds of flat screens to Hong Kong, primarily for reuse

 2   and refurbishment. But after arriving in Hong Kong, some number of flat screens proved to be

 3   unsuitable for further use and were instead diverted for disassembly and recycling to at least one

 4   rudimentary processing facility. Mr. Zirkle and Mr. Lorch failed to disclose, and took steps to

 5   conceal, that Total Reclaim was selling flat screens tendered to it for recycling for export, in

 6   violation of the customers’ service agreements.

 7   B.       Personal Characteristics

 8            1.        Mr. Zirkle’s upbringing, education, and family life

 9            Mr. Zirkle will turn 56 years old the day after he comes before the Court for sentencing.

10   Born in Chandler, Arizona, to parents who exemplified public service and traditional values, Mr.

11   Zirkle has spent the last nearly four decades devoted to family and building a successful business

12   through hard work, innovation, and integrity. That a profound and inexcusable lapse in judgment

13   led him to his current situation should not overshadow his otherwise productive and law-abiding

14   life.

15            A quiet and unassuming man, Mr. Zirkle has a small circle of friends and family to whom

16   he is unfailingly loyal. Mr. Zirkle’s father served in the U.S. Air Force. That service brought the

17   family—including his parents, his sister, and his brother—to University Place, Washington,

18   when Mr. Zirkle was a small child. He has been a proud member of our community since that

19   time. While his father continued to serve in the Air Force at McChord Field (and later with the

20   U.S. Army Corps of Engineers), Mr. Zirkle’s mother also modeled public service as an employee

21   of the General Services Administration.

22            When he was 15, Mr. Zirkle’s parents divorced. That experience helped forge his

23   commitment to family, even during trying times. Indeed, in the aftermath of Mr. Zirkle’s own

24   divorce years later, his two children chose to live with him.

25            Mr. Zirkle obtained a high school diploma. He next tried to follow his parents’ example

26   of service by applying to be a firefighter. Despite testing first among his class of applicants, knee

27   injuries precluded medical clearance. PSR ¶ 58. Even with this setback, Mr. Zirkle was later able
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 1   to help those in need in his community while serving as an Emergency Medical Technician.

 2            Following his entry into the heating, ventilation, and air conditioning field, Mr. Zirkle

 3   discovered and nurtured a flair for numbers and logistics. He also developed an expertise in the

 4   economic and environmental potential of recycling refrigerators and refrigerants, as well as more

 5   complex and challenging materials. After meeting Mr. Lorch, the two launched Total Reclaim in

 6   1991, and over time their complementary management skills and personalities enabled Total

 7   Reclaim to become a dominant player in the regional recycling industry.

 8            Mr. Zirkle’s first marriage ended in 2013 after a three-year separation. His daughter,

 9   Alexandra, lives with him and, after working as an emergency room technician, has returned to

10   school to become either a pharmacist or a physician assistant. Mr. Zirkle’s son, Hayden, lives in

11   Ellensburg, Washington and, with his father’s support and guidance, has started his own

12   excavation company. Both children—then teenagers, now in their mid-20s—chose to live with

13   him after the separation. Their letters of support, attached in Exhibit 1, attest to the close bond

14   they share with their father and the positive influence he has been and continues to be in their

15   lives.

16            Since 2017, Mr. Zirkle has been dating Mary Correll, a dentist. Dr. Correll recently

17   accepted Mr. Zirkle’s proposal to marry.

18            2.        Mr. Zirkle’s Businesses: Total Reclaim and EcoLights

19            Mr. Zirkle’s contributions to our region’s environmental quality and industry are

20   significant. Total Reclaim, its operations, and its innovations are discussed in a video submitted

21   to Probation available here and attached as Exhibit 4.

22            Mr. Zirkle and Mr. Lorch created Total Reclaim to help businesses and public entities

23   properly recycle refrigerators and other appliances under the framework established by the 1990

24   Amendments to the Clean Air Act. Those amendments required that certain gases, such as Freon,

25   be captured—instead of released into the atmosphere—during disposal or recycling.

26            In 1997, they established a new company—EcoLights Northwest—becoming the first

27   recycler of mercury-containing fluorescent lamps in the Pacific Northwest and, to this day, the
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 1   only such company in Washington State.

 2            Three years later, Total Reclaim started recycling electronics. It quickly became the

 3   largest electronics recycler in the Pacific Northwest. As the video attached as Exhibit 4 explains,

 4   Total Reclaim’s employees recycle millions of pounds of electronics each year. Even today, after

 5   the contraction in the business and its operations brought about by the government’s investigation

 6   and these proceedings, Total Reclaim employs 65 people (down from more than 160 employees

 7   when the sale of flat screens for export was exposed). Those employees continue to process more

 8   than 17 million pounds of electronics and lights per year, using proprietary processes pioneered

 9   by the company.

10            Over the past 25-plus years, through various programs and initiatives, Total Reclaim has

11   safely and responsibly recycled more than half a billion pounds of waste. The company has been

12   honored as the Recycler of the Year from the Washington State Recycling Association and won

13   a Program Innovation award from the National Association of Hazardous Materials Managers.

14            Other than minor administrative citations since their founding, and except for this

15   criminal proceeding, neither Total Reclaim nor EcoLights has been the subject of an investigation

16   or enforcement action related to the proper handling of material tendered to them for recycling.

17            3.        Letters of Support from Mr. Zirkle’s Family, Friends, and Co-Workers

18            Mr. Zirkle has the continuing support of his family, friends, neighbors, employees, and

19   business associates. One aspect of the letters of support attached to this memorandum that bears

20   special mention—especially for someone as reserved and focused on family and business as Mr.

21   Zirkle—is the depth of generosity and dedication to serving others at the core of Mr. Zirkle’s

22   life. As the letters bear out, he has paid college tuition for friends and family going through tough

23   times and provided advice and support for business associates and neighbors facing life’s

24   challenges. He has also expressed his deep shame and remorse flowing from his crime. See Exs.

25   1–3 (collecting letters).

26            While this memorandum will not dwell on those letters—all are attached for the Court’s

27   review—several excerpts merit mention as the Court considers an appropriate sentence.
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 1            First, Mr. Zirkle’s fiancée, Mary Correll, came into his life only after the government had

 2   begun its investigation. But his honesty about this crisis of his own making, as well as his

 3   dedication to those closest to him, allowed her to look past this conduct and see the moral and

 4   loving person Mr. Zirkle is. The kind of person who loves his own children and hers, who has

 5   taken care of his recently deceased friend’s family over the last year, and who travels to

 6   Tennessee and Kentucky every few months to check in on his father and sister, make home

 7   repairs, and clean his father and stepmother’s chicken coop. Dr. Correll captures who Mr. Zirkle

 8   really is:

 9            I met Jeff in May of 2017 and we recently became engaged. Jeff has been
              completely upfront and honest with me about his legal issues since day one.
10            Although I worried about it all from the very beginning, I could not help falling
              in love with him. Jeff has been a constant in my life for the past two years. Even
11            with all he has going on, his concerns are never about himself but always about
              those around him. I’ve witnessed this over and over in almost every facet of his
12            life since we have been together.
13   Ex. 1.

14            Next, Mr. Zirkle’s niece, Jess, movingly describes the support her uncle has provided

15   since her father’s death in 2013. Mr. Zirkle took Jess and her mother (Mr. Zirkle’s sister) into his

16   home, contributed to the tuition payments for her “dream college,” and supported her nascent

17   music career. As importantly, Mr. Zirkle has given this support without wishing for any attention

18   for himself and his generosity:

19            Jeff lives unselfishly. He is not haughty; he does not boast his good fortune, which
              was earned from years of diligent, steadfast work. Instead, he quietly gives. He
20            gives what’s needed and then he gives some more. Jeff operates, not being bound
              by obligation, but rather on altruistic kindness towards family and friends, alike.
21            I am and will forever be proud to call Jeff Zirkle my uncle. It is my hope that you
              will take all of the above into deep consideration prior to his sentencing. It is my
22            hope that I’ve explained well enough that Jeff Zirkle is a good man.
23   Id.

24            Moving beyond Mr. Zirkle’s family, his friends, neighbors, employees, and business

25   associates also enthusiastically attest to Mr. Zirkle’s character. For example, lifelong friend Scot

26   Cook highlights both Mr. Zirkle’s remorse and the kind of dedication to others that Mr. Zirkle

27   regularly demonstrates:
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 1
              I have had conversations with Jeff regarding the events that have transpired. I can
 2            tell you he is extremely remorseful and regretful for the decisions he made related
              to these charges. Over Jeff’s professional career he has made countless business
 3            decisions that have not only benefitted and enriched his life but the hundreds of
              individuals who worked for the companies he founded. I can assure you these
 4            regrettable events and the decisions Jeff made relating to these charges are
              anomalies and not representative of Jeff’s typical judgment.
 5
              ....
 6
              Jeff has always been generous with close friends and family, but if I had to pick
 7            one example, perhaps the act most representative of his good character was his
              continued care for an early employee of Total Reclaim. This person had little or
 8            no local family so Jeff essentially became his caretaker. Jeff saw to it that he had
              a place to live and medical care. He made sure that his employee, who had several
 9            health issues, made and kept appointments and at times personally drove him to
              and from the doctor. He made sure prescriptions were filled and medications were
10            taken as directed. This selfless act of appreciation and kindness provides an
              insightful understanding of Jeff’s true character.
11
     Ex. 2.
12
              Craig Saunders, a 35-year friend of Mr. Zirkle, confirms this spirit of giving. But beyond
13
     the financial—Mr. Zirkle gave Mr. Saunders and his family monthly payments for two years to
14
     help them through difficult times—Mr. Saunders highlighted one of the smaller gestures that
15
     show Mr. Zirkle’s character:
16
              As far as our friendship I can’t imagine a better friend in the world. Because I’m
17            a firefighter, many times when a storm or flood happens I have to leave my family
              for days at a time. One time when our kids were ages one and three years old there
18            was an ice storm. I had to go to work and my family didn’t have heat for four
              days. We had a wood stove but no firewood split and ready. We lived at the top
19            of a very steep driveway which we couldn’t drive up. My wife said she looked
              outside and there came Jeff hiking up the driveway carrying firewood, load after
20            load so that my wife and kids would have heat for the house.

21   Id.

22            The same is true of the observations of Mr. Zirkle’s other friends and colleagues. The

23   Court can see that in the letter from longtime neighbor Brad McCord, who described Mr. Zirkle

24   as a “an advocate for the underdog” and is sure that Mr. Zirkle would not repeat his crime because

25   “that conduct is inconsistent with the Jeff Zirkle I have known and observed and from whom I

26   have received ethical advice over many years.” Ex. 2. A Total Reclaim employee of nearly fifteen

27   years, Lazarus Arps, shared similar sentiments. Mr. Arps is grateful to Mr. Zirkle for seeing “the
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 1   potential in [him] even though [he does not have] a lot of higher education” putting him into

 2   positions in the company with the responsibility and trust to fulfill that potential. Ex. 3. Mr. Arps

 3   also volunteers that “a fundamental goal of our company is learning from mistakes and

 4   continuous improvement,” and knows that Mr. Zirkle “deeply regrets his poor judgment.” Id.

 5            Patrick Phillips, a business associate of more than twenty years who has done work for

 6   Total Reclaim, offered yet another perspective:

 7            I watched him time after time creating and dreaming up new ideas that would
              better his business and help his workers efficiently tear down recyclable material.
 8            I have been in the metal recycling business 30 plus years and been in and out of
              every scrap yard in our state. I was blown away with the level of how many things
 9            his company was doing compared to others. He ran a very clean operation.
10            ....
11            In closing, I just want to reiterate the view I have of Jeff Zirkle. He is a man of
              higher morals than most in this industry. Jeff provides for so many different
12            people, hundreds of people count on his guidance and direction. He’s a good
              employer, he’s a good person, and he’s human. We all make mistakes, but those
13            mistakes shouldn’t define us. I know that Jeff is a very sorry for what he did.
14   Id.

15            Mr. Phillips is right. Our mistakes should not define us. But it is one thing for family,

16   friends, employees, and business partners to recognize this principle. Far more telling is when a

17   victim of fraud acknowledges it about the perpetrator of the fraud. Yet that is what has happened

18   here. Last month, Tait Chandler, the executive director of Green Star of Interior Alaska—a

19   nonprofit entity and victim of Mr. Zirkle and Mr. Lorch’s fraud—published an op-ed in the Daily

20   News-Miner in Fairbanks, Alaska. Ex. 5. That piece, which neither Mr. Zirkle nor Mr. Lorch

21   asked Mr. Chandler to write or even knew about in advance, acknowledges that Total Reclaim

22   sent flat screens overseas, violating its agreements with customers like Green Star.

23            Mr. Chandler explains that although Green Star “searched exhaustively” for an alternative

24   to Total Reclaim, the cost of other providers in the area “far exceeded” the cost to recycle with

25   Total Reclaim, and turning to another option would threaten the organization’s “ability to offer

26   electronics recycling to borough residents in a fiscally responsible manner.” He also observes

27   that “Total Reclaim has taken full responsibility for its actions,” “changed its entire process,” and
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 1   “has its operation fully audited every year.” The op-ed notes that “Green Star has been watching

 2   the progress that Total Reclaim has made to learn from [its] mistakes” and concludes by stating

 3   that “Total Reclaim has been working with Green Star to ensure that the electronics that are sent

 4   [to Total Reclaim] are processed in a way that agrees with our principles.”

 5            Nor is Green Star the only victim open to Total Reclaim’s continued operation. The

 6   executive director of the Washington Materials Management & Financing Authority

 7   (“WMMFA”), whose payments to Total Reclaim accounted for roughly 85% of the fraud loss

 8   here, informed the government as recently as April 25, 2017, that he was aware of no WMMFA

 9   Board members who had expressed the view that Total Reclaim should be put out of business,

10   since Mr. Zirkle and Mr. Lorch had “admitted their mistake and would be back on track after this

11   incident.”

12            While it in no way excuses Mr. Zirkle’s conduct, the understanding of so many people,

13   including victims of the fraud, underscores (1) that Mr. Zirkle and Total Reclaim deserve a

14   second chance, and (2) the demonstrably aberrant nature of his conduct.

15   C.       The Sentencing Guidelines Range
16            The parties agree on the appropriate Guidelines range for Mr. Zirkle. To start, the base

17   offense level is 6 under U.S.S.G. §§ 2X1.1(a) & 2B1.1(a)(2). A 14-level increase to that score

18   based on the fraud loss applies under U.S.S.G. § 2B1.1(b)(1)(H), leading to an offense level of

19   20. Enhancements for using sophisticated means (2 points), abusing trust or use of a special skill

20   (2 points), consciously or recklessly risking death or serious bodily injury (2 points), and acting

21   as an organizer or leader (4 points) together bring the offense level to 30.

22            Against these enhancements, however, Mr. Zirkle is also entitled to a reduction of 3 levels

23   for his acceptance of responsibility, since his advisory Guidelines score exceeds a level 18.

24   U.S.S.G. § 3E1.1. Mr. Zirkle and Mr. Lorch cooperated promptly and extensively throughout the

25   government’s investigation and elected to plead guilty. Besides producing documents and other

26   requested information without compulsory process, Mr. Zirkle, Mr. Lorch, and Total Reclaim

27   fully cooperated with and resolved related investigations by the Oregon Department of Justice,
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 1   the Oregon Department of Environmental Quality, and the Washington Department of Ecology.

 2            The total offense level is thus 27. Mr. Zirkle’s Criminal History Category is I, and indeed

 3   he has no criminal history points. Together, this yields a Guidelines range of 70 to 87 months.

 4   Because 60 months is the statutory maximum for conspiracy under 18 U.S.C. § 371, that is the

 5   cap here.

 6            For the reasons below, however, a significant downward departure and variance from a

 7   60-month sentence—as even the Probation Office recognizes—is warranted consistent with

 8   consideration of the § 3553(a) factors.

 9                       III.    DEFENSE RECOMMENDATION & DISCUSSION

10            Mr. Zirkle requests that the Court consider and impose a sentence requiring:

11       •    6 months of incarceration in a federal correctional facility

12       •    3 years of supervised release conditioned on 12 months of home confinement with

13            electronic monitoring and work-release eligibility

14       •    500 hours of community service during supervised release

15       •    Payment of $945,663 in restitution, for which Mr. Zirkle and Mr. Lorch are jointly and

16            severally liable

17            Such a sentence undeniably constitutes punishment while, at the same time, allowing for

18   the possibility that Total Reclaim (and EcoLights) can remain viable, continue to provide

19   valuable and needed recycling services, and continue to be a place where more than 60 employees

20   report to work each day. Thus, Mr. Zirkle also asks the Court to stagger the sentences that he and

21   Mr. Lorch serve so that one can remain either free or subject to home confinement and available

22   to manage the ongoing day-to-day operations of Total Reclaim and EcoLights. Mr. Zirkle and

23   Mr. Lorch independently concluded that six months is the longest time feasible for one or the

24   other to be absent from the businesses, which have historically required the complementary

25   management skills of both.

26            As the Court well knows, a sentence should be “sufficient, but not greater than necessary,

27   to comply with the purposes set forth” in 18 U.S.C. § 3553(a). Pepper v. United States, 562 U.S.
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 1   476, 491 (2011) (quoting 18 U.S.C. § 3553(a)). Sentencing courts “consider every convicted

 2   person as an individual and every case as a unique study in human failings that sometimes

 3   mitigate, sometimes magnify, the crime and the punishment to ensue.” Gall v. United States, 552

 4   U.S. 38, 52 (2007) (citation omitted) While courts must consider the Sentencing Guidelines as

 5   part of this individualized assessment, the Guidelines are neither determinative nor

 6   presumptively appropriate. See United States v. Carty, 520 F.3d 984, 991 (9th Cir. 2008) (en

 7   banc). The § 3553(a) factors include the nature and circumstances of both the offense and the

 8   offender, and other considerations such as deterrence, just punishment, public safety, and the

 9   interest in paying restitution to victims.

10            This memorandum will not march through a formulaic discussion of those factors.

11   Instead, they are subsumed in the discussion of the circumstances that favor Mr. Zirkle’s

12   proposed sentence: his extraordinary acceptance of responsibility; the provably aberrational

13   nature of his criminal conduct; and the benefit to the community of allowing Mr. Zirkle (and Mr.

14   Lorch) to continue operating both Total Reclaim—an innovative, award-winning, and, today,

15   fully compliant company—and EcoLights, which together contribute meaningfully to our

16   region’s environment and economy.

17   A.       Mr. Zirkle’s Extraordinary Acceptance of Responsibility

18            On realizing that a nonprofit organization concerned with e-waste exports by the U.S.

19   recycling industry had learned that Total Reclaim had breached its service agreements, and

20   following discussions with that organization, Mr. Zirkle and Mr. Lorch publicly acknowledged

21   their wrongdoing in a May 2016 joint statement on Total Reclaim’s website. The public statement

22   (Ex. 6), acknowledged both the contractual breach and the potential environmental and human

23   harm that could have been caused in Hong Kong as a result.

24            Later, the U.S. Environmental Protection Agency and the U.S. Attorney’s Office for the

25   Western District of Washington launched a criminal investigation of Total Reclaim, Mr. Zirkle,

26   and Mr. Lorch. All three fully cooperated with law enforcement requests for documents and other

27   information during the government’s criminal investigation. Mr. Zirkle and Mr. Lorch even
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 1   authorized Total Reclaim’s counsel to voluntarily disclose certain actions they had taken—and

 2   later reversed—to conceal the sale of flat screens for export. Total Reclaim also entered into

 3   related administrative settlements with the Washington Department of Ecology and the Oregon

 4   Department of Environmental Quality for $383,625 and $145,143, respectively, and resolved a

 5   related civil enforcement matter with the Oregon Department of Justice for $553,000. Those

 6   settlement agreements are collected at Exhibits 7–9 and total more than one million dollars.

 7            Over the course of many months, the government and counsel for Total Reclaim, Mr.

 8   Zirkle, and Mr. Lorch discussed alternatives for resolving the government’s investigation, both

 9   civil and criminal. Ultimately, however, the government insisted that the matter be resolved with

10   a criminal disposition, although only as to Mr. Zirkle and Mr. Lorch. The government allowed

11   Total Reclaim to execute a non-prosecution agreement and in so doing recognized its value to

12   Seattle and the Pacific Northwest as a going concern.

13            Because he had indeed engaged in criminal conduct, and to further demonstrate his

14   ongoing cooperation and acceptance of responsibility, Mr. Zirkle entered a guilty plea to one

15   count of conspiracy to commit wire fraud and agreed to make restitution to Total Reclaim’s

16   defrauded customers. The restitution obligation, shared jointly and severally with Mr. Lorch,

17   totals $945,663. A check in that amount has been tendered by Mr. Zirkle and Mr. Lorch to counsel

18   to be paid into the Court’s registry immediately after entry of judgment.

19            Nor did Mr. Zirkle’s acceptance of his culpability end with his guilty plea. He and Mr.

20   Lorch have placed op-eds in the Puget Sound Business Journal (circulation 18,000), E-Scrap

21   News (circulation 13,000), and Recycling Today (circulation 16,000)—the latter two leading

22   industry publications. The piece in E-Scrap News had the most unique page views of any story

23   the outlet published in January 2019. 1 The op-eds, entitled Learn from Our Mistakes, candidly

24   describe the flawed and short-sighted decision-making that led to the offense conduct and urge

25   others, both within and outside the recycling industry, to learn from and to avoid Mr. Zirkle and

26
     1
       See “Our Top Stories from January 2019,” E-Scrap News (Feb. 7, 2019), https://resource-
27   recycling.com/e-scrap/2019/02/07/our-top-stories-from-january-2019/.
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 1   Mr. Lorch’s mistakes and the painful and lasting consequences—personal and professional—

 2   that have flowed from them. The two paid to place two of the three op-eds to retain editorial

 3   control over the content and ensure that the details of their conduct and acknowledgment of their

 4   wrongdoing would not be abbreviated. The op-eds are attached as Exhibit 10. They, along with

 5   the discussions of his remorse highlighted in several of the attached letters of support, attest to

 6   the sincerity of Mr. Zirkle’s appreciation for the seriousness of his offense and the genuineness

 7   of his contrition.

 8            Finally, Mr. Zirkle submitted—along with Mr. Lorch—a written statement of acceptance

 9   of responsibility to the Probation Office, attached as Exhibit 11, and Mr. Zirkle intends to address

10   the Court at sentencing.

11   B.       The Aberrational Nature of Mr. Zirkle’s Conduct

12            Many defendants with no criminal history claim at sentencing that their criminal conduct

13   does not accurately portray who they are as people. Here, however, Mr. Zirkle’s crime is provably

14   aberrant, even putting aside the letters of support that attest to his selflessness, integrity, and

15   generosity of spirit.

16            In fact, revenue attributable to flat-screen-related payments to Total Reclaim from its

17   customers (for processing) and from its third-party exporter (for export) together accounted for

18   only 2% of the total revenue that Total Reclaim generated over the time during the relevant time

19   period. See Ex. 12 ¶ 8. If one also considers the revenue generated by EcoLights, the other

20   business owned by Mr. Zirkle and Mr. Lorch, the percentage drops to 1.7% of total revenue. Id.

21   Considering the percentage of the total volume of material processed by Total Reclaim during

22   the relevant period paints a similar picture. Just 2.8% of the total volume of material processed

23   by Total Reclaim—and just 2.6% of the combined volume of material processed by Total

24   Reclaim and EcoLights—was composed of exported flat screens. Id. ¶ 10. Thus, almost all of

25   Total Reclaim’s revenue during the years at issue was legitimately derived and almost all the

26   material it processed was handled appropriately.

27
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 1            These percentages, and not the ill-considered and expedient misrepresentations he and

 2   Mr. Lorch made to various customers during the period at issue and for which they have pleaded

 3   guilty, tell the more important story of Total Reclaim (and Mr. Zirkle himself): a successful

 4   innovative, and overwhelmingly compliant small business dedicated to the environmental well-

 5   being of the communities it serves. Mr. Zirkle has continued to show his dedication to sustaining

 6   Total Reclaim and its workforce, investing more than $500,000 in the business since 2016. The

 7   enterprise that he and Mr. Lorch built should not disappear—to the detriment of their employees

 8   and customers—because of an inexcusable and serious lapse in judgment.

 9            Mr. Zirkle does not offer the statistics about revenue and material volume to duck

10   accountability for his actions. He does so rather to highlight a critical difference between his

11   conduct and that of many other fraud defendants; his business is a legitimate enterprise that

12   enormously benefits his community. In many other fraud cases, including one discussed below,

13   a defendant’s business operations are a sham. Not so here. Indeed, the government has implicitly

14   recognized this by declining to prosecute Total Reclaim as an entity.

15            And importantly, other than relatively minor administrative citations since their founding

16   in 1991, neither Total Reclaim nor EcoLights has been the subject of any other investigation or

17   enforcement action related to the proper handling of the hundreds of millions of pounds of

18   material tendered to them for recycling. The businesses pay taxes and employ dozens of people.

19   As the Court has seen in the video attached as Exhibit 4, Total Reclaim has been an innovator in

20   the field. Indeed, the unsolicited op-ed from Green Star’s executive director confirms that Total

21   Reclaim provides an invaluable and fully compliant service—particularly in Alaska where there

22   are few options—at the lowest price. That the executive director of the victim accounting for

23   85% of the fraud loss here also told the government that his organization’s board had not

24   advocated that Total Reclaim be put out of business for its transgressions is also highly relevant.

25            As even its victims have acknowledged, Total Reclaim deserves a chance at redemption,

26   a chance it will not have if Mr. Zirkle and Mr. Lorch are sentenced to lengthy terms of

27   imprisonment.
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 1   C.       Bodily Injury Enhancement

 2            Among the Sentencing Guidelines enhancements that Mr. Zirkle has not contested is one

 3   for creating a conscious or reckless risk of death or serious bodily injury. See U.S.S.G.

 4   § 2B1.1(b)(15)(A). From their May 2016 public statement forward, Mr. Zirkle and Mr. Lorch

 5   have acknowledged that they were insufficiently mindful of the potential consequences of their

 6   decision to sell flat screens for export. Once flat screens leave the United States, it becomes

 7   impossible to control their ultimate disposition. Because flat screens contain mercury in some of

 8   their component parts, this creates a risk of potentially serious bodily harm.

 9            Beyond that, however, any harm flowing from Total Reclaim’s decision to sell flat

10   screens for export to Hong Kong is purely speculative. This needs to be kept in mind when

11   considering the Probation Office’s recommendation, and the video and expert report 2 submitted

12   by the government.

13            To start, exporting flat screens to Hong Kong is not—as the Plea Agreement

14   acknowledges—prohibited by U.S. law. Instead, it was Mr. Zirkle and Mr. Lorch’s broken

15   promises to their customers that made those exports criminal.

16            As for what happened once the flat screens were exported, there is no evidence from

17   which the Court can determine the likelihood that any worker was harmed. While the government

18   trumpets a figure of 8.3 million pounds of flat screens exported during the relevant time, the

19   third-party exporter himself told the government that at least 70% of each shipment of exported

20   flat screens should have been suitable for reuse or refurbishment, posing no obvious danger to

21   any foreign workers. Indeed, from Mr. Zirkle’s perspective, it would make no economic sense

22   for the third-party exporter to have approached Total Reclaim about buying flat screens unless

23   the exporter expected to be able to re-sell (and not pay a second time to recycle) nearly all flat

24   screens.

25

26   2
       The Court should consider that the toxicologist whose report is cited by the government is
     hardly independent: she is employed by the U.S. Environmental Protection Agency, the same
27   agency that conducted the criminal investigation here.
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 1            And as the attached declaration from an industrial hygienist explains, there is not enough

 2   information about the flat screens that were disassembled at the facility depicted in the video

 3   submitted by the government to say whether anyone was likely injured, let alone by a flat screen

 4   originating at Total Reclaim. See Exhibit 13 ¶ 5. The declaration describes some of the analytical

 5   challenges to determining that likelihood, including several unknown variables:

 6       •    The quantity of Total Reclaim flat screens at the facility

 7       •    The quantity, if any, of mercury-containing tubes from Total Reclaim that were broken

 8            by workers at the facility

 9       •    The temperature, wind speed, and wind direction at the facility over time

10   Together, these and the other variables identified in the attached declaration make it impossible

11   even to say whether the workers depicted in the video were exposed to mercury levels above

12   those considered safe by the Occupational Safety and Health Administration, much less whether

13   any worker was likely to have been harmed. 3 See id. ¶¶ 7–14.

14            This is not to deny that Mr. Zirkle’s conduct was serious, and should not be excused. But

15   any risk of harm to workers in developing countries resulted from insufficient attentiveness to

16   the processes used in foreign operations less prominent in Mr. Zirkle’s consciousness than those

17   employed by Total Reclaim. While it is true that Total Reclaim realized additional revenue due

18   to selling flat screens for export, the decision to sell flat screens was prompted by inadequate

19   processing capacity and continued because it allowed Mr. Zirkle and Mr. Lorch to postpone a

20   day of reckoning with Total Reclaims production constraints. Even so, Mr. Zirkle feels deep

21
     3
       The rationale for the Probation Office’s recommendation does not appreciate these variables,
22   focusing instead on the 8.3-million-pound figure and stating that “[t]hese flat screen monitors
     and their mercury-containing components were dismantled by the laborers at an informal outdoor
23   recycling plant” without precautions, exposing workers and the environment to mercury. That
     conclusion is unsupported. Mr. Zirkle and Mr. Lorch’s agreement to the 2-point enhancement
24   acknowledges that the export of mercury-containing components necessarily creates some risk—
     the language of the enhancement says only “risk”—but at least 70% of the exported flat screens
25   were not disassembled. There is moreover no information about how many flat screens
     originating at Total Reclaim were diverted to the facility in the video. Nor is there information
26   about how many, if any, flat screens originating at Total Reclaim arrived in Hong Kong with
     mercury-containing components still intact, or whether any worker was exposed to—much less
27   actually harmed by—mercury from such a flat screen.
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 1   remorse over all aspects of his criminal conduct, and the notion that he would intentionally

 2   endanger foreign workers is inconsistent with Total Reclaim’s workplace-safety practices and a

 3   lifetime of caring for those facing challenges of all types, including health-related challenges.

 4   D.       Just Punishment and Deterrence

 5            Mr. Zirkle’s recommended sentence would provide meaningful punishment for his crime

 6   without imperiling the economically, environmentally, and socially valuable enterprises that he

 7   and Mr. Lorch have spent decades building. It also coheres with the sentences imposed for the

 8   only two other defendants the government has prosecuted for committing similar—but more

 9   culpable—offenses.

10            The more recent of those sentences was imposed just last week. In United States v.

11   Brundage, the court imposed a 36-month sentence on the owner of a business that the government

12   described as a “sham recycling company” where 75 to 80 percent of the materials customers

13   paid to recycle (mostly lead-containing CRT monitors) “were fraudulently disposed of—either

14   through re-selling [for export], landfilling or stockpiling.” Judgment at 2, No. 1:16-cr-00812

15   (N.D. Ill. Apr. 11, 2019), ECF No. 100; Ex. 14 (Government’s Sentencing Mem. in Brundage)

16   at 10. Brundage, who himself requested a noncustodial sentence, pleaded guilty to wire fraud (as

17   opposed to conspiracy) for misrepresenting the nature of his company’s recycling services over

18   an 11-year period, resulting in a fraud loss to customers of $538,000. He also pleaded guilty to

19   an elaborate tax evasion scheme involving millions of dollars of concealed income he used to

20   fund a lavish lifestyle, resulting in a federal tax liability of $744,000, and a total restitution

21   obligation of $1,282,000—almost $340,000 more than the restitution Mr. Zirkle and Mr. Lorch

22   have committed to repay.

23            Another recent sentence was imposed on the CEO of Executive Recycling. That company

24   offered similar services to Total Reclaim’s, and also committed not to export electronic waste to

25   certain countries. The owner and CEO, Brandon Richter, was convicted of wire and mail fraud,

26   obstruction of justice, and environmental offenses at trial. See United States v. Richter, 796 F.3d

27   1173, 1178 (10th Cir. 2015). After a partial reversal of his convictions by the Tenth Circuit,
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 1   Richter received a 22-month sentence for his surviving obstruction conviction and a guilty plea

 2   to conspiracy to commit wire fraud. See id. at 1201; Amended Judgment at 1–2, United States v.

 3   Richter, No. 1:11-cr-00376-WJM (D. Colo. June 20, 2017), ECF No. 656.

 4            Admittedly, the fraud loss attributable to Brundage and Richter was less than the loss

 5   here. And while Brundage’s fraud occurred over an 11-year period, Richter’s lasted about 4

 6   years. Those cases also did not include enhancements for creating a risk of serious bodily

 7   injury—even though the facts in both similarly supported applying that enhancement.

 8            But other differences favor Mr. Zirkle in important ways. To start, besides pleading guilty

 9   to the substantive offense of wire fraud, Brundage pleaded guilty to a multi-million dollar tax

10   evasion scheme, and Richter was also convicted at trial of obstruction of justice. Next, whereas

11   Brundage ran a sham recycling operation recycling no more than 25% of the materials tendered

12   by customers, Mr. Zirkle and Total Reclaim properly processed and disposed of 97% of the

13   material tendered by customers to Total Reclaim. In addition, Richter was also initially

14   prosecuted for an environmental crime: exporting of CRTs (in which Brundage also engaged),

15   which was independently criminal, unlike the flat-screen exports for which Mr. Zirkle was

16   responsible. Moreover, despite the shorter duration of Richter’s conspiracy, he sold almost

17   $1.971 million of lead-containing CRTs for export—nearly twice Total Reclaim’s flat-screen

18   sales for export. See Plea Agreement ¶ 28, United States v. Richter, No. 1:11-cr-00376-WJM (D.

19   Colo. Feb. 25, 2016), ECF No. 591. And finally, there is no evidence that either Brundage or

20   Richter authored and published op-eds and other statements educating others in the field about

21   the nature of their misconduct and flawed decision-making, and encouraging others to learn from

22   their mistakes.

23            Richter also denied any wrongdoing during a nationally broadcast segment on 60

24   Minutes. Mr. Zirkle, of course, did no such thing and instead publicly acknowledged and took

25   responsibility for his misconduct. Further, unlike the extensive and voluntary cooperation with

26   law enforcement here, Richter’s cooperation came only after his conviction at trial. Brundage

27   appears to have done little to aid prosecutors, other than pleading guilty, and indeed the
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 1   government’s sentencing memorandum accuses Brundage of subsequently disavowing many of

 2   the admissions he made in his plea agreement. See Ex. 14 at 4, 6, 8–9.

 3            Together, these distinctions outweigh the greater fraud loss and risk of harm enhancement

 4   here, and justify a sentence less severe than the ones Brundage and Richter received. Mr. Zirkle’s

 5   proposed sentence carries with it 6 months of incarceration. That time would be followed by a

 6   year of home confinement. And it is well settled that a non-custodial sentence represents “a

 7   substantial restriction of freedom.” Gall, 552 U.S. at 48. This is especially so when a defendant

 8   is sentenced to home confinement. See, e.g., United States v. Munoz-Nava, 524 F.3d 1137, 1149

 9   (10th Cir. 2008) (holding that “home confinement and supervised release substantially restrict

10   the liberty of a defendant”); United States v. Gonzalez, 2004 WL 230992, at *6 (S.D.N.Y. Feb.

11   5, 2004) (“Imposing a period of home detention rather than incarceration [on a defendant who

12   had never been incarcerated] will adequately serve the aims of punishment and deterrence.”).

13            Mr. Zirkle’s proposal also advances the interests in both specific and general deterrence.

14   As for the former, it is virtually inconceivable—as the Probation Office agrees—that Mr. Zirkle

15   is at risk to re-offend given the aberrant nature of his conduct.

16            Second, the sentence Mr. Zirkle requests will deter others. A government press release

17   replete with rote, ghost-written quotes attributed to a laundry list of agency officials and touting

18   a long prison sentence (which may or may not generate press attention depending on the other

19   news of the day) will not be as effective as the sincere efforts Mr. Zirkle and Mr. Lorch have

20   already undertaken, both within the national recycling community and the Pacific Northwest

21   business community, to publicize the very real and significant consequences—personal and

22   professional—they have endured for their crime.

23            Indeed, while general deterrence is an important component of sentencing, social science

24   research suggests that, in white-collar cases, a credible threat of prosecution and conviction alone

25   is sufficient to deter others, even without an added need for lengthy incarceration. The

26   government’s successful prosecutions of Richter, Brundage, and this case provide just such a

27   deterrent. Moreover, “there is considerable evidence that even relatively short sentences can have
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 1   a strong deterrent effect on prospective ‘white collar’ offenders.” United States v. Adelson, 441

 2   F. Supp. 2d 506, 514 (S.D.N.Y. 2006) (collecting authorities). There is thus little marginal

 3   deterrence to be gained by imposing the sentence recommended by the government or by the

 4   Probation Office in lieu of the sentence recommended by Mr. Zirkle. And of course, a longer

 5   sentence will almost assuredly lead to the shuttering of Total Reclaim and the cessation of

 6   valuable and, today, fully compliant waste processing services.

 7                                           IV.     CONCLUSION

 8            Mr. Zirkle conspired to defraud certain of Total Reclaim’s customers. He deserves to be

 9   punished, and he recognizes as much. He and Mr. Lorch have issued repeated public statements, since

10   shortly after their misconduct was revealed, acknowledging their culpability and urging others in both

11   the Pacific Northwest business community and the national electronic-waste recycling community to

12   learn from their short-sighted, unethical, and expedient decision-making. He and Mr. Lorch have

13   arranged for immediate payment of restitution on entry of judgment. Between his share of restitution,

14   attorney’s fees, and the administrative and civil settlements with the Washington Department of

15   Ecology, the Oregon Department of Environmental Quality, and the Oregon Department of Justice,

16   Mr. Zirkle alone has paid out more than the entire fraud loss his misconduct has caused. Total Reclaim

17   has also experienced significant reductions in the volume of material entrusted to it by customers due

18   to adverse publicity associated with the criminal investigation and resulting guilty pleas. And most

19   difficult of all, Mr. Zirkle has experienced the utter humiliation of having to explain to friends, family,

20   and business associates, all of whom considered him an example of personal integrity and square

21   dealing, that he broke the law and expects to be incarcerated. Even before this Court pronounces

22   sentence, Jeff Zirkle has been punished and experienced profound consequences for his conduct.

23            Unlike most white-collar defendants without criminal histories, Mr. Zirkle is not asking for

24   a sentence of probation. The sentence he asks the Court to impose—6 months incarceration followed

25   by supervised release conditioned on 12 months of home confinement—will further the § 3553(a)

26   factors without being more severe than necessary. It will also permit the possibility that Total Reclaim

27   can continue in operation under Mr. Zirkle and Mr. Lorch, who have together proven to be an
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 1   effective and complementary management team over the decades. A sentence that forecloses that

 2   possibility, after the many actions Mr. Zirkle has voluntarily taken to atone for his misconduct and

 3   the steps he has taken to try and provide a viable path forward for what all agree is now a fully

 4   compliant business, serves no useful purpose.

 5             Instead, a sentence that constitutes meaningful punishment, but also recognizes Mr. Zirkle’s

 6   extensive cooperation, exceptional acceptance of responsibility, innovation and economic

 7   productivity, lack of criminal history, and demonstrated prosocial values—is justified and appropriate

 8   here. 4

 9             DATED: April 16, 2019

10                                                   LANE POWELL PC
11

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17
                                                     Attorneys for Defendant Jeffrey Zirkle
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       Mr. Zirkle also joins and incorporates by reference the arguments made in Mr. Lorch’s
27   sentencing memorandum.
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 1                                    CERTIFICATE OF SERVICE
 2            I certify that, on the date indicated below, I caused the foregoing document to be

 3   presented to the Clerk of the Court for filing and uploading to the CM/ECF system. In accordance

 4   with their ECF registration agreement and the Court's rules, the Clerk of the Court will send e-

 5   mail notification of such filing to all attorneys and parties of record.

 6            I affirm under penalty of perjury under the laws of the United States that the foregoing is

 7   true and correct to the best of my personal knowledge.

 8            SIGNED April 16, 2019, at Seattle, Washington.

 9

10                                                  s/ Patti Lane
                                                    Patti Lane, Legal Assistant
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